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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                  BALTIMORE DIVISION


 ZITO LLC,

                Plaintiff,

        v.                                             Civil Action No. JKB-17-1733

 CRJ, INC., RIPKEN HOLDINGS LLC,                       JURY TRIAL DEMANDED
 RIPKEN BASEBALL CAMPS & CLINICS
 LLC, RIPKEN BASEBALL ACADEMY
 LLC, RIPKEN ENTERPRISES LLC, AND
 R-C MYRTLE BEACH, LLC,
                Defendants.


   MOTION TO AMEND ORIGINAL COMPLAINT FOR PATENT INFRINGMENT
       Under this Court’s August 18, 2017, Scheduling Order (Doc. 19) and Federal Rule of

Civil Procedure (“FRCP”) 15(a)(2), Plaintiff Zito LLC timely files its Motion to Amend its

Original Complaint for Patent Infringement by today’s deadline (September 18, 2017).

Defendants oppose this motion.

       Since the filing of Plaintiff’s Original Complaint for Patent Infringement on June 23,

2017, Plaintiff has learned through discovery that additional entities are infringing Plaintiff’s

patents and has learned of the expanded scope of Defendants’ infringement of Plaintiff’s patents
through their making, using, selling, and offering for sale their Ripken Performance Metrics

System. Plaintiff’s First Amended Complaint for Patent Infringement (“FAC”) names the

additional entities as defendants and provides a description of Defendants’ expanded

infringement as required under Rule 8(a)(2) in Exhibits C and D. The FAC also clarifies the

Original Complaint by matching the asserted claims in the pleading with the asserted claims in

Exhibits C and D, providing the background of Mr. Zito’s termination, and numbering the

paragraphs consecutively.

       Under FRCP 15(a)(2), a party may amend its complaint with the court’s leave when the
opposing party does not consent to the amendment. The court “should freely give leave [to
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amend the complaint] when justice so requires.” FRCP 15(a)(2). Thus, “leave to amend should

be denied only when the amendment would be prejudicial to the opposing party, there has been

bad faith on the part of the moving party, or amendment would be futile.” Matrix Capital

Mgmt. Fund, LP v. BearingPoint, Inc., 576 F.3d 172, 193 (4th Cir. 2009) (internal citation and

quotation marks omitted).

        Defendants will suffer no prejudice with Plaintiff’s FAC. Plaintiff has timely requested

amendment of its Original Complaint according to this Court’s Scheduling Order; the FAC is

Plaintiff’s first proposed amendment of its Original Complaint; the parties have until December

1, 2017, to complete their preliminary discovery; Plaintiff has propounded its discovery

requests on Defendants; and Defendants have not propounded their discovery requests on

Plaintiff as of the filing of this motion.

        For these reasons, Plaintiff respectfully requests that this Court grant its Motion to

Amend its Original Complaint for Patent Infringement.

        Attached to this motion under Local Rule 103.6 is a clean copy of the FAC and a copy

showing the edits to the Original Complaint. Plaintiff is adding defendants to its FAC, so

copies of all exhibits are attached for service upon the added defendants.


        Dated: September 18, 2017                   Respectfully submitted,

        Peter J. Corcoran, III                      /s/ Jan I Berlage
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                                                    Counsel for Plaintiff
                                                    Zito LLC




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 18, 2017 a copy Plaintiff’s Motion to Amend

Original Complaint for Patent Infringement was served via CM/ECF and/or first class mail,

postage pre-paid to:

                                  Aiyda Ghahramani, Esquire
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                                            /s/ Jan I. Berlage
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